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                                                                      2021 Mar-23 PM 03:44
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


           IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION

CRM MOTORS, INC.,                     )
an Alabama Corporation;               )
                                      )
      Plaintiff,                      )
                                      )
vs.                                   ) Case No.: 2:21-CV-00094-AMM
                                      )
MCCLARY FORD                          )
LINCOLN-MERCURY, INC.;                )
an Illinois Corporation;              )
ARDMORE AUTO SALES LLC,               )
an Alabama Limited Liability Company; )
STOGNER MANAGEMENT I, INC.,           )
a Georgia Corporation;                )
HOLLY AUTOMOTIVE, LLC,                )
an Alabama Limited Liability Company; )
AMERICA’S AUTO AUCTION                )
BIRMINGHAM, INC., an Alabama          )
Corporation;                          )
PEGGY IVEY, an individual;            )
                                      )
    Defendants.                       )

                PLAINTIFF’S NOTICE OF DISMISSAL


  Comes Now the Plaintiff, CRM Motors, Inc., pursuant to FRCP Rule

41(a) and moves this court to dismiss the above action against all

parties(McClary Ford Lincoln-Mercury, Inc., Ardmore Auto Sales LLC,
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Stogner Management I, Inc., Holly Automotive, LLC, America’s Auto

Auction Birmingham, Inc., and Peggy Ivey) with prejudice.




                            Respectfully submitted,


                            /s/ Michael E. Parrish
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                      CERTIFICATE OF SERVICE

I certify that I have this the 23rd day of March, 2020 served a copy of the
above and foregoing by either CMECF electronic filing or by U.S. mail
first class to the following parties/counsel of record:

Mr. Cecil H. Macoy, Jr.
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Attorney for Defendants America’s Auto Auction Birmingham, Inc., and
Peggy Ivey
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                        s/ Michael E. Parrish
                        Michael E. Parrish
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